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                                                     UNITED STATES DISTRICT COURT
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                                                            DISTRICT OF NEVADA
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                                                                         2:13-CR-83 JCM (CWH)
                  8       UNITED STATES OF AMERICA,

                  9                       Plaintiff(s),
                10        v.
                11
                          DERRICK PHELPS, CYNTHIA
                12        PHELPS, and LINDA MACK,
                13                        Defendant(s).
                14
                15                                                    ORDER
                16             Presently before the court is the government’s unopposed motion to continue deadlines.
                17      (Doc. # 89). The government requests up to, and including, May 9, 2014, in which to file its
                18      responses to the following: defendants’ objections to the report and recommendation and appeal
                19      (doc. # 78), objection regarding the order denying the motion for bill of particulars (doc. # 79), and
                20      the objection to the report and recommendation (doc. # 82). In light of the defendants’ non-
                21      opposition and with good cause appearing, the motion is granted.
                22             Also before the court are defendant Linda Mack’s motions for joinder. (Docs. # 80, 81, 83).
                23      Ms. Mack seeks to join in the aforementioned objections, which were filed by defendants Cynthia
                24      and Derrick Phelps. The government has not opposed these motions. With good cause appearing,
                25      the motions for joinder will be granted and defendant’s arguments will be considered in conjunction
                26      with the objections she joins.
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James C. Mahan
U.S. District Judge
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                  1            Accordingly,
                  2            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the government’s unopposed
                  3     motion to continue deadlines (doc. # 89) be, and the same hereby is, GRANTED. The government
                  4     shall have up to, and including, May 9, 2014, in which to file its responses.
                  5            IT IS FURTHER ORDERED that Linda Mack’s motions for joinder (docs. # 80, 81, 83) be,
                  6     and the same hereby are, GRANTED.
                  7            DATED April 14, 2014.
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                                                              UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                    -2-
